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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

  THE NEW YORK TIMES COMPANY,

                     Plaintiff,                     Civil Action No.
                                                    1:23-cv-11195 (SHS) (OTW)
                         v.

  MICROSOFT CORPORATION, OPENAI, INC.,
  OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
  OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI
  CORPORATION, LLC, and OPENAI HOLDINGS,
  LLC,

                    Defendants.

  DAILY NEWS, LP; THE CHICAGO TRIBUNE
  COMPANY, LLC; ORLANDO SENTINEL
  COMMUNICATIONS COMPANY, LLC; SUN-                 Civil Action No.
  SENTINEL COMPANY, LLC; SAN JOSE                   1:24-cv-03285 (SHS) (OTW)
  MERCURY-NEWS, LLC; DP MEDIA NETWORK,
  LLC; ORB PUBLISHING, LLC; AND
  NORTHWEST PUBLICATIONS, LLC,

                     Plaintiffs,

                         v.

  MICROSOFT CORPORATION, OPENAI, INC.,
  OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
  OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI
  CORPORATION, LLC, and OPENAI HOLDINGS,
  LLC,

                    Defendants.



   PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN OPPOSITION TO
                   DEFENDANTS’ MOTIONS TO DISMISS

      Plaintiffs The New York Times Company; Daily News, LP; The Chicago Tribune

Company, LLC; Orlando Sentinel Communications Company, LLC; Sun-Sentinel Company, LLC;




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San Jose Mercury-News, LLC; DP Media Network, LLC; ORB Publishing, LLC; and Northwest

Publications, LLC (collectively “Plaintiffs”), by and through their undersigned counsel,

respectfully submit this Notice of Supplemental Authority to apprise the Court of a recent order

that further supports Plaintiffs’ Oppositions to Defendants’ pending Motions to Dismiss.1

         On March 7, 2025, in Kadrey et al. v. Meta Platforms, Inc., No. 23-cv-03417-VC (N.D.

Cal.), Judge Chhabria issued an order denying Meta’s motion to dismiss Plaintiffs’ claim under 17

U.S.C. § 1202(b)(1). See Order Granting in Part and Denying in Part Motion to Dismiss, Kadrey,

No. 23-cv-03417-VC, Dkt. No. 471 (March 7, 2025) (the “Order”). The Order is attached hereto

as Exhibit A. Following Judge Rakoff’s ruling in The Intercept Media, Inc. v. OpenAI, Inc., 2025

WL 556019, at *5-6 (S.D.N.Y. Feb. 20, 2025), Judge Chhabria found that Plaintiffs adequately

alleged both: (i) a sufficient injury for Article III standing; and (ii) that Meta had intentionally

removed CMI to conceal copyright infringement. Order at 1-3.


Dated: March 10, 2025                                  /s/ Ian Crosby

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  OpenAI’s Motion to Dismiss and Microsoft’s Motion to Dismiss against The Times are filed at Dkt Nos. 51 and
64, respectively, and The Times’s Oppositions to those Motions are filed at Dkt Nos. 73 and 76, respectively, in case
No. 23-cv-11195. Microsoft’s Motion to Dismiss and OpenAI’s Motion to Dismiss against the Daily News Plaintiffs
are filed at Dkt Nos. 76 and 80, respectively, and the Daily News Plaintiffs’ Oppositions to those Motions are filed at
Dkt Nos. 98 and 100, respectively, in case No. 24-cv-3285.



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                               Northwest Publications, LLC




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